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UNITED STATES DISTRICT. COURT. po
DISTRICT OF MASSACHUSETTS’ ~
BOSTON MASS.

PHILLIP A. DAVIDSON PRO SE
42 BECKFORD ST. APT.#4 . MAY 25,2002
BEVERLY MASS. 01915 :

v. 02- 109¢ Z2WGY

 

 

 

STATE OF TEXAS ATTNY. GEN,
CHILD SUPPORT DIV. aay Bo $4433
P.O.BOX 12017 AMAUT So.
AUSTIN TX. 78711-2017 EUMEZONS 128. Gg go ST
LOCAL RULN 41 weed
CSE CHILD SUPPORT CO WALTER G2 SIDRY,
P.O,BOX 49459 we mom esr Tey |
AUSTIN TX. 78765 AG 138 CR 121 |
DY BAYT CL >
JOANNE RABOT ADDRESS UNKNOWN may eis

c/o ATTNY. SUSAN HUBBARD
430 BOSTON ST. SUITE 105
TOPSFIELD MASS. 01983

ATTNY. SUSAN HUBBARD

430 BOSTON ST. SUITE 105
TOPSFIELD MASS, 01983
ATTNY. ERICA FOSTER

10 ELM ST.
DANVERS MASS. 01923

COMPLAINT

THIS CASE ARISES BY THE FACTUAL ACCOUNTS AS DESCRIBED ON THE
FOLLOWING PAGES STARTING WITH PAGE #1.

PARTIES

THE PLAINTIFF IS A RESIDENT OF BEVERLY MASS. COUNTY OF ESSEX,
AND A CITIZEN OF THE UNITED STATES,

DOCKETED

 

 
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(CONT. FROM COMPLAINT PAGE)

THE DEFENDENTS ARE CITIZENS OF BOTH THE STATE OF TEXAS, AND
THE STATE OF MASSACHUSETTS, AND CITIZENS OF THE UNITED STATES.

THIS COURT HAS JURISDICTION OVER THIS CASE PURSUENT TO 28 U.S.C.
1331, AND USEING THE U.S. MAIL FOR FRAUD, AND EXTORTION.

FACTS

SEE PAGE #1 TO FOLLOW.

THE PLAINTIFF DEMANDS JUDGEMENT AGAINST THE DEFENDENTS FOR
PUNITIVE DAMAGES, AND SUCH RELIEF AS THE COURT DEEMS JUST.

Milos Nt.

‘PHILLIP A. DAVIDSON PRO SE
42 BECKFORD ST. APT. #4
BEVERLY MASS. 01915

TEL. 978-869-4228

   

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THIS CASE BEGINS ON OCTOBER 2, 2001 WHEN A AGREEMENT WAS
COMPLEATED BY THE PLAINTIFF PHILLIP A. DAVIDSON, AND DEFENDENT
JOANNE RABOT IN WHICH THE PLAINTIFF WAS TO SIGN AWAY HIS RIGHTS
AS THE FATHER OF A CHILD BORN TO THE PARTIES, (SEE EXHIBITS #1
THRU #5).

SHORTLY AFTER THE AGREEMENT WAS SIGNED BY ALL THE PARTIES AND
JUDGE EDWARD ROCKET THE DEFENDENT WAS LEAGELY FREE TO TAKE THE
CHILD TO TEXAS, ON, OR ABOUT JANUARY 2002 THE DEMANDS STARTED TO
ARRIAVE AT THE PLAINTIFFS HOME DEMANDING $22,700 DOLLERS IN
CHILD SUPPORT PAYMENTS MAILED TO THE TEXAS ADDRESS IN (EXHIBIT #6)

THE PLAINTIFF WROTELETTERS, SENT COPY'S OF THE AGREEMENT TO THE
CHILD ENFORCEMENT UNIT, CALLED BY TELEAPHONE TO THAT SAME CHILD
SUPPORT UNIT, A BILL COLLECTOR LICENSED BY THE STATE OF TEXAS
ATTORNEY GENERALS OFFICE, AND THE TEXAS DEPT. OF BANKING WHICH
ARE TOTALY RESPONSIABLE FOR THE ACTIONS OF IT'S SUB-CONTRACTORS.

I FURTHER WROTE TO MY ATTORNEY ERICA FOSTER OF 10 ELM ST.
DANVERS MASS. 01923 TO STOP THIS HARASSMENT OF ABOUT 10 TELA-
PHONE CALLS, AND AT LEAST 7 DEMANDS BY MAIL SIMULAR TO EXHIBIT
#6, ON MAY 6, 2002 I WROTE TO BOTH LAWYERS WITH A DEMAND TO PUT
A STOP TO THIS HARASSMENT BY MAY 22, 2002 OR I WOULD FILE A COURT
ACTION SHORTLY AFTER THAT DATE(EXHIBITS #9, AND #10).

THE PLAINTIFF SEEKS RELIEF FROM THIS HONORABLE COURT FROM THE
FRAUDULENT, AND EXTORTIONATE ATTEMPT BY THE TEXAS CHILD SUPPORT
ENFORCEMENT AGENCY, AND IT'S PRIVATE BILL COLLECTOR UNDER THE
FOLLOWING STATUTES:, FRAUD~~310F-2nd~262-267,---234 SUPP. 20}203,
38 CAL. RPTR. 148,157,(NO SCIENTER)---144A,2nd, 836-838,---255
NYS, 2nd, 608-610, EXTORTION, MODEL PENAL CODE 223.4, 148A,2nd
848-850, 2 MASS. 522,523,--160 F, 2nd, 754,756,--BLACKMAIL, 258
NW, 62,65, ---82NE, 1039,1041.AGAINST THE TWO ATTORNEY'S ERICA
FOSTER, AND SUSAN HUBBARD, NONFEASANCE 191NE2nd,588,591.

 

 
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THE DEFENDENT FURTHER PORTRAYED ITSELF AS A BONIFIED ENITY
OF THE TEXAS CHILD SUPPORT DIVISION OF THAT STATES ATTORNEY
GENERALS OFFICE, DECIEVEING THE PLAINTIFF INTO BELIEVEING THAT
THE DEMANDS WERE IN FACT OF THE TEXAS STATE CHILD SUPPORT AGENCY
AND I DID NOT UNDERSTAND THAT THIS CHILD SUPPORT ENFORCEMENT
GROUP WAS IN FACT A BILL COLLECTOR AND HAD NO LEGAL STANDING IN
THE ENTIRE MATTER, BUT THE BONIFIED TEXAS CHILD SUPPORT AGENCY OF
THE STATE OF TEXAS IS AS GUILTY OF THESE FELONY'S AGAINST ME AS
THE SHAM BILL COLLECTOR, A CO-CONSPERITOR,

THE PLAINTIFF ALSO CHARGES THAT NO COLLECTION, ATTEMPT THEREOF
COULD BE POSSIABLE WITHOUT THE KNOLEDGE OF JOANNE RABOT, AND HER
ATTORNEY, CO-CONSPERITORS, ATTORNEY ERICA FOSTER ALSO WAS JUST
PLAIN SLIP SHOD IN HER PERSUIT TO COMPLEAT HER JOB, AND BY HER
ACTIONS ALLOWED THIS FRAUD TO CONTINUE TO THIS DATE.

BOTH ATTORNEY'S KNEW FULL WELL THAT NO ALLEGED COLLECTION OF
ARREARS CAN BE POSSIABLE UNTILL A STILL TO BE HEARD REMAND ISSUED
BY THE MASS. STATE APPEALS COURT IS COMPLEATED(EXHIBIT #5), AND
THE ISSUE OF CHILD SUPPORT SPLITTING IS HEARD, BOTH ISSUES ARE
AGAINST THE ALLEGED $22,700. DOLLER ARREARS.

THE PLAINTIFF DEMANDS PUNITIVE DAMAGES OF $500,000.00 AGAINST
THE TEXAS CHILD SUPPORT AGENCY OF THE ATTORNEY GENERAL FOR
COMPLICITY TO FRAUD, EXTORTION, AND BLACKMAIL USEING THE U.S.MAIL-

THE PLAINTIFF DEMANDS PUNITIVE DAMAGES OF $500,000.00 AGAINST
THE CSE CHILD SUPPORT ENFORCEMENT CO. OF AUSTIN TEXAS FOR FRAUD,
EXTORTION, BLACKMAIL, AND USEING THE U.S. MAIL, AND INTERSTATE
TELEPHONE COMMUNACATIONS TO PERPERTRATE THE CRIME, AND BECAUSE
THEY HAD NO LEGAL STANDING IN THE CASE WHATEVER TO DEMAND PAY-
MENT OF ANY MONEY'S WITHOUT A COURT ORDER FROM THE ORIGINAL STATE
OF THE CASE WHICH IS MASSACHUSETTS.

 

 
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THE AWARD FOR DAMAGES IS JUST, THE PLAINTIFF IS A RECOVERING
ALCOHOLIC BROUGHT ON BY THE BITTERNESS OF THIS CASE SINCE 1994,
AFTER THE SIGNING OF THAT AGREEMENT(EXHIBITS #1 THRU #4) ,THE
PLAINTIFF BELIEVED THAT THE CASE WAS OVER,WHICH HE ALSO BELIEVED
THIS ACTION TOOK AWAY A TRIGGER THAT BEGAN DRINKING BINGES THERE
BY BRINGING HOPE OF PERMINENT SOBRIATY.

THE PLAINTIFF REQUESTS A JURY TRIAL.

RESPECTFULLY,

Jullp ds rb

PHILLIP A. DAVIDSON PRO SE
42 BECKFORD ST. APT. #4
BEVERLY MASS. 01915

TEL. 978-869-4228

 
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Commonwealth of Massachusetts
The Trial Court
_.__ ESSEX ___. Division Probate and Family Court Department Docket No. _90p-1397-p1

Judgment AFTER REVIEW

JOANNE RAROT , Plaintiff

_ PHILLIP DAVvInson , Defendant

This action came on for (HH) (hearing) before the Court, [EDWARD J. ROCKETT

Justice presiding, and the issues having been duly (tried) (heard) and findings having been duly rendered.

tis Ordered and Adjudged
The signed stipulation of the parties filed September 28, 2001, is
incorporated in and made part of this Judgment and the parties shall

comply with the terms thereof.

All until further order of the Court.

: ——) J “
Date September 28, 20G] . LOL

Justice or the Probate and Family Court

CJ-D 420 (3/90)

 

 
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‘02-C\e - Filed 05/28/02 Page 7 of 15
Co ~Rfeauiést tga oluntary termination of D igre
I, Jo Anne Rabot

» 0 longer want DOR to collect and enforce child
support on my behalf because:

[J — Ireconciled with the noncustcdial parent; or

| No more child support is due me because:
C] my children are over age 18, or emancipated, and not dependent on me for support;
CJ my children are under age 18 but no longer live with me.

J I prefer to have child support payments paid to me directly instead of having DOR collect the payments
and forward them to me.

omer Since the FaHur ha) given up all Parental right to the

Child, £ Nave woved cll presend and future chiid Support.
custodial Parcel Gh JUDO cxrrea wae Ee a pitt Oba) OF shibt0 and are preserve

? Name: JoAnne. Rabot + - ‘Name: Phillip Dawiduon Wo
Address: . Address: 202 Doug hton Drive 2

a Bully HA 01915

Phone: Phone: (919 )

SSN: O58 -4¢- A] Al SSN: 020 “D4 - BAZ

 

 

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T understand that I may reapply for services at any time, and that J may be assessed an application fee.

Jp erie ware. A12O101 Q) of 3} i5lot

Fodial Parent

  
 

Signature:

  

I agree that the child support case with DOR shall be closed immediately.

stout LY EE Date: q|29 101 QJ of 3S ]01

Non-GaStodial Parent
wigit aA

bx

 

 
Case et Poeument + Fileq 05/28/02 Page 8 of 15

COMMONWEALTH OF MASSACHUSETTS
ESSEX, ss PROBATE AND FAMILY COURT
DOCKET NO.: S9O0D-1397-D1

JOANNE RABOT,
Plaintiff

 

vs. STIPULATION

PHILLIP DAVIDSON,
Defendant

ere ee eee

Joanne Rabot and Phillip Davidson hereby agree to the
Tollowing:

1. Phillip Davidson hereby agrees to relinquish all
parental rights he has or may have regarding Kristina Ann Rabot-
Vavidson, date of birth May 4, 1990.

2. Phillip Davidson will no longer be required to pay chiid
support, provide health insurance or contribute in any other way
Financially to the support of the minor child.

3. Joanne Rabot hereby agrees to waive all present and
tuture child support owed;

4. Joanne Rabot and Phillip Davidson agree that the past
id support owed as of March 15, 2001 in the amount of
een, /74,06 1s hereby preserved. Joanne Rabot agrees that she
will opt out of services as provided by the Department of
Revenue.

5. Unless herein modified, all prior orders of the Court
remain in full force and effect.

DATED: March 15, 2001 as of
September 7, 2001

   

 

 

  

 

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bp kel b Ce ~ han Al Hea Uh S
Phillip Davidson, Defendant Jo ine Rabot, Plai 3

CL \ YAN .

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= a ait

Erica M. Foster, Attorney “Susan C. Hubbard, Attorney cx!
for Phillip Davidson for Joanne Rabot Vy

 

 
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@usBarD & EVANS,

430 Boston Street
Suite 105
Topsfield, MA 01983
Susan ©. Hubbard Telephone (978) 887-1075
Andrew W. Evans Telecopier (978) 887-1076

October 29, 2001

Erica M. Foster, Attorney
100 Hathorne Office Park
49] Maple Street

Danvers, MA 01923

RE: Rabot vs. Davidson
Dear Erica:

As per our Stipulation, my client, JoAnne Rabot is
requesting that the DOR collection case be terminated.

To that end, Phillip must also sign the termination form. I
am sorry that I did not realize while we were at Court that
Phillip needed to sign same. Please have him sign on the bottom
and forward the form back to me. I will complete JoAnne’s
address and file th. form with DOR.

‘If you have any questions or comments, please do not
hesitate to contact me.

Thanking you, ~ am
Very truly yours,
UBBARD & EVANS, P.A.
uoul ub
Susan C. Hubbard
SCH/jah
Enclosure

 
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COMMONWEALTH OF MASSACHUSETTS
THE TRIAL COURT
THE PROBATE AND FAMILY COURT DEPARTMENT

ESSEX DIVISION DOCKET NO. 90D1397D1

RRRKK ARK KKKK KEK ARK KAK KARR RRR KR AR

Joanne Rabot
Plaintiff

Vv.

Phillip A. Davidson
Defendant

KRAKAK KK RAR KAA KARR ARRAN RAR KR KK A

JUDGMENT AFTER RESCRIPT

At the Probate and Family Court held at Salem in and for said County of Essex, on
the twenty-eighth day of August, 1997;

Whereas on appeal to the Appeals Court for the Commonwealth of Massachusetts
dated August 7, 1995;

It appears that a rescript from the Appeals Court for the Commonwealth dated
May 16, 1997 was filed in this Court on June 13, 1997 whereby it was ordered that the
following entry be made in the docket of this Court:

UThe case is remanded to the Probate and Family Court so that the defendant may
have a further opportunity to make an evidentiary showing with respect to the arrearage
calculation of August 7, 1995, In all other respects, the judgment and order of Aucust 7,

S.are aff} "

The Court hereby orders and adjudges that the case be remanded to the court for
further proceedings consistent with the opinion of the Appeals Court on file in this c

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RegisteNof Hrabatl, Epos Bivision

 

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CHILD SuPPORT ENFORCEMENT

 

 

April 23, 2002

Phillip Anthony Davidson
PO Box 4405
Peabody, MA 01961

Re: Delinquent Child Suppo. t for “Joanne Rabot” Case No: 195622

Respond .y Payment to Be Received Prior to May 14, 2002
Minimum Payment Due: $260.00
Dear Phillip Anthony Davidson,

You have discontinued paying child support, in willful disobedience of the court’s order. You have also
refused to contact us to make arreugements to bring yourself into compliance with the order.

If you wish to avoid court-ordered enforcement, it is required that you do the following:

1. Immediately make a child support payment in the amount specified;

2. Contact us to discuss arrange.nents for additional payments, or to make other special arrangements.

Unless payment is received in this office on or before $:00 o’clock p.m., on May 14, 2002, or other
acceptable arrangements are madu, we will immediately refer this matter to our attorneys for the
commencement of enforcement p-oceedings. If enforcement proceedings are commenced, you may be
required to pay not only the child support due, but also interest thereon, attorney’s fees and costs of court.

Your payment must be mailed, insmediately, to your local child support agency or;

CSE Child Support Enfercement, CO.
P.O. Box 49459
Austin, Texas 78765.

Lf payment is not received in accordance herewith, this matter will be referred to our attorneys, without

further notice to you.

Very truly yours,

Ginny Stoner
Enforcement Specialist, CSE
866-541-3107

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CSE Cuitp Support Enforcement P.O. Box 49459 AUSTIN, TX 78765

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Supervised Institutions

Complaints

 

WHAT'S NEW!!

SEARCH

CONTACT

 

Page tvs

 

Employment

 

Press Releases,
Speeches, Testimonies

Publications

 

Supervised Entities

The Ombudsman

 

Registered Offices
of Private Child Support Enforcement Agencies

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Reg. Legal Name . + mh
No.* || Including d/b/a and assumed names Address Effective || Expiration
1 Supportkids, Inc., 4120 Freidrich Lane, Ste. || 2/14/2002 || 2/14/2005
d/b/a CSE Child Support Enforcement |/175, Austin, TX
Agency
2 Support the Children, Inc. 5202 Springlake, Garland, || 2/15/2002 |} 2/15/2005
TX
3 M. J. (Mike) Human d/b/a 6301 Gaston Avenue, Ste. || 2/19/2002 |j 2/19/2005
Human interest Agency 800, Dallas, TX
4 Child Support Assistance Network, Inc. 4 x 03 Romaine, Houston, |} 2/20/2002 || 2/20/2005
5 Kids Income Depends on Support, Ltd., || 3201 Cherry Ridge, Ste. 2/27/2002 || 2/27/2005
d/b/a K.I.D.S., Ltd. and d/b/a KIDS, Ltd. |} 300 San Antonio, TX
6 Child Support Specialist, Inc., 2500 Wilcrest No. 300 2/27/2002 || 2/27/2005
d/b/a Child Support Specialists Houston, Texas
7 Child Support Network, Inc. 212 E. Osborn Road, Ste. |) 2/27/2002 || 2/27/2005
210, Phoenix, Arizona
8 Bureau of Child Support Enforcement, || 3939 E. Hwy. 80, Ste. 3/01/2002 |} 3/01/2005
LLG, d/b/a BCSE 400, Mesquite, TX
9 Enforce-It!, LLC, d/b/a Guardian Child || 14121 NW Frwy., Ste. B 3/01/2002 || 3/01/2005
Support; Guardian Child Support Houston, TX
Enforcement; Guardian Child Support
Enforcement Systems; and Guardian
The Child Support People
10 Child Support Bureau of Texas, LLC, 1734 E. Quinlan Parkway, || 3/01/2002 || 3/01/2005
d/b/a CSBT and d/b/a CSBT, LLC Quinlan, TX
11 Jack R. Taylor d/b/a Kids Support 2201 Midway Road, #108 || 4/08/2002 || 4/08/2005
Enforcement Agency Carrollton, TX
T3b_ |! Innovative Collection Concepts, inc., 11260 Cornell Park Dr., 5/02/2002 || 7/01/2002
d/b/a National Child Support Center Ste. 706, Cincinnati, OH
d/b/a National Child Support

 

 

 

 

 

 

 

 

* Registration numbers prefixed with a '"T" denote a temporary certificate.

http://www. banking. state.tx.us/PCSEA/licensed. HTM

» Qn
PANS

5/14/2002

 

 
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Contact Information

Child Care Subsidy Agency Head Start - State Collaboration Office
Texas Workforce Commissio:. Texas Head Start - State Collaboration Office
101 East 15th Street Suite 434T Office of the Governor
Austin, TX 78778-0001 P.O. Box 12428
Phone: 512-936-3141 Austin, TX 78711
Fax: 512-936-3223 Phone: 512-936-4059
http://www.twe.state.tx.us/svc 3/childcare/ccinfo.html Fax: 512-463-7392

Web site:

http://www.governor.state.tx.us/the office/head
Child Care Licensing Ageacy State Child Care Resource & Referral Co
Department of Protective and Regulatory Services Texas Association of Child Care Resource & Re
Child Care Licensing Agencies
P.O. Box 149030 230 Pereida
M.C. E-550 San Antonio, TX 78210
Austin, TX 78714-9030 Phone: 210-226-3391
Phone: Day Care Hotline: 806-862-5252 Fax: 210-226-0108

or 512-438-3267
Fax: 512-438-3848
Web site: http://www.tdprs.stz.te.tx.us/Child_ Care/

 

 

 

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Child Care Food Progran: Agency Office of Child Support Enforcement /
i
Texas Department of Human Services Texas Office of the Attorney General /
Attn.: State Director, Client Self-Support Services Child Support Division /
1106 Clayton Lane, Suite 217E P.O. Box 12017 {
P.O. Box 149030 ; Austin, TX 78711-2017 |
Austin, TX 78714-9030 ' Phone: 512-460-6000 |
Phone: 512-483-3941 _ Fax: 512-460-6028
Fax: 512-467-5855 :
Web site: .
http://www.dhs.state.tx.us/programs/snp/index.htm! on
Child Abuse Reporting

To report suspected child abuse in Texas, call (800) 252-5400.

For national child abuse inforn:ation, call the Childhelp USA National Child Abuse Hotline (staffed
24 hours daily with professional crisis counselors): 1-800-4-A-CHILD or 1-800-2-A-CHILD (T.D.D)

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http://www.nccic.org/statepro/texas.html 5/14/2002

 

 
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PHILLIP A. DAVIDSON
42 BECKFORD ST. APT. #4
BEVERLY MASS. 01915

MAY 6, 2002

ATTORNEY ERICA M. FOSTER
AND

SUSAN C. HUBBARD P.A.

DEAR ATTORNEY'S, I AM SENDING YOU THE LATEST HARASSMENT DEMAND
BY THE TEXAS D.O.R. IN WHICH I AM VERY UNHAPPY TO RECIEVE, I TOLD
YOU ATTORNEY FOSTER A FEW WEEKS BACK "ENOUGH, WAS ENOUGH, AND I
WOULD NOT TAKE ANYMORE, SO WITH THAT STATEMENT IN MIND I STATE
THE FOLLOWING DEMAND,: THE TEXAS D.O.R. HAS NEVER HAD ANY JURIS-
DICTION IN THIS CASE EXCEPT AS A MAIL DROP, THEREFORE I DEMAND
BOTH END THIS HARASSMENT BY THE 22ND OF MAY 2002 ONCE AND FOR ALL
IF THIS IS NOT DONE I WILL TAKE THE FOLLOWING ACTIONS,:

 

(1) I WILL FILE A CRIMINAL FEDERAL ACTION HOLDING BOTH OF YOU
ACCOUNTABLE FOR THE FRAUD, AND EXTORTION THAT IS NOW BEING HEAPED
UPON ME BY JOANNE RABOT, THE TEXAS D.O.R.FOR NOT DOING YOUR JOBS.

(2) I HOLD JOANN RABOT ACCOUNTABLE FOR FRAUD, AND EXTORTION
FOR THE PERPATRATION OF THIS FRAUDULENT ALLEGED SETTLEMENT IN
ORDER TO GAIN SOLE CUSTODY OF THE CHILD, MOVE OUT OF STATE, THEN
PROCEED TO START OVER WITH CHILD SUPPORT COLLECTIONS, AND ARREARS
NOT OWED, AS BOTH OF YOU KNOW, THERE IS A REMAND STILL UNHEARD ON
THOSE ARREARS, AS WELL AS A ILLEGAL ISSUE OF THE CHILD SUPPORT
SPLITTING WHICH IS A FACTOR IN THAT CASE, THE EVIDENCE OF THE
TEXAS D.O.R. HARASSMENT BARES THIS SHAM OUT.

(3) BECAUSE OF BOTH LAWYER'S NON-FEASANCE I WILL ASK THE COURT
TO SUSPEND BOTH OF YOUR LICENSES TO PRACTICE LAW IN ANY MANNER
FOR SIX MONTHS, AND FURTHER TAKE THE MATTER UP WITH THE BOARD OF
OVERSEERS.

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ys

 
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(4) I WILL FILE THIS CRIMINAL COMPLAINT AGAINST THE TEXAS DOR
ON FRAUD, EXTORTION, AND FRAUD BY U.S. MAIL.

IF THIS ENTIRE MATTER IS NOT SETTLED BY MAY 22, 2002 I WILL
PROCEED WITH THE FILEING OF THAT FEDERAL CRIMINAL CASE IN THE
FEDERAL DISTRICT COURT IN BOSTON AS SOON AS THE PAPERWORK IS
COMPLEATED.

I AM SORRY THAT I HAVE TO TAKE THIS ACTION BUT ENOUGH, IS QUITE
ENOUGH.

YOURS TRULY,

Pilg howe

PHILLIP A. DAVIDSON

 

 
